UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

 

THE ESTATE OF JAMES FRANKL]N
PERRY, et al.,

Plaintiffs,
V' ease No. 12-€\/_664

CHERYL WENZEL, RN, et al.,

Defendants.

 

STIPULATION FOR DISMISSAL OF REMA[NING MILWAUKEE COUNTY
DEFENDANTS

 

IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiffs and
Defendants Cheryl Wenzel and Nichole Virgo, by and through their undersigned attorneys, that
pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), any and all claims against Defendants Wenzel and
Virgo, which Were, or could have been, asserted by the Plaintiffs are hereby dismissed, With
prejudice, and Without costs or attomeys’ fees to any party. Defendants Wenzel and Virgo shall

be dismissed as parties to this action and their names shall be removed from the caption

Dated: 3/22/ 19 s/ J ames J. Gende ll

 

J ames J. Gende, ll

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Dated: 3/22/19

s/ Timothy H. Posnanski

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